Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 1 of 23 PageID# 159




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                       -   Alexandria Division -

___________________________________
                                    )
ERIK J. CARDIN                      )
                                    )
versus                              )                  Case No.: 1:19-cv-1646 LO/JFA
                                    )
LEAH M. OLSZEWSKI                   )
____________________________________)


             SECOND AMENDED COMPLAINT FOR DAMAGES AND
                       FOR INJUNCTIVE RELIEF

           Pursuant Leave of Court by Order to file a Second Amended Complaint in this matter,

Plaintiff Erik J. Cardin pleads as follows:

                                              Summary

           Leah Olszewski has repeatedly made false statements and criminal allegations about Erik
J. Cardin. Erik Cardin was a Senior Master Sergeant in the United States Air Force; he is now
retired.

           Ms. Olszewski has publicly alleged as recently as September 2019 regarding SMSgt
(Ret) Erik Cardin:

            [Erik] Cardin had assaulted me 5 times, including strangulation in July of [2017]
            …

This statement is false.

            On October 11, 2017 SMSgt (Ret) Cardin committed the worst assault on me yet.
            Knowing I was pregnant this evening he, among other things, pulled back both of
            his legs and kicked me with the full force of both of his feet in the abdomen, so hard
            I flew off our bed and into closet doors, knocking them off their tracks. He then
                SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                              Page 1 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 2 of 23 PageID# 160




         grabbed and pulled my hair, not allowing me to leave, took my phone, and then
         grabbed and pushed me down at the top of stairs as he often did …

         He kicked me in the abdomen with both of his feet. He knew I was pregnant. I
         called the police, and he ran from the house. Over the next three days, I miscarried.

These statements, made first to the Air Force Office of Special Investigations in April 2018,
are false – they are Ms. Olszewski’s fabrications. She was not pregnant, and SMSgt (Ret.)
Cardin did not assault her.

       Ms. Olszewski continued:
         [Erik] Cardin continues to threaten me, retaliate, and follow me with no
         consequence while I continue to live in fear and spend time, money and energy to
         stay safe and get away from him.
Again, an untrue statement. She has repeated this allegation multiple times.

       The above statements are taken from Ms. Olszewski’s testimony in a September 18,
2019 Congressional Hearing. But she has made these statements time and again from April
2018 into 2020. At her urging, and with her full cooperation, the September 2019 statements
were included in published news reports across the United States, on ABC News, National
Public Radio, and in an October 23, 2019 feature (updated on December 14, 2019) in The
Huffington Post. The publications identified SMSgt (Ret) Cardin by name – any Google
search for information on SMSgt (Ret.) Cardin will today identify the above statements
found in multiple publications.

       Ms. Olszewski’s false allegations are core to her personal campaign to destroy Erik
Cardin. She had pursued and tormented him since he left their romantic relationship in
October 2017, and she shows every sign that she plans to continue her campaign against him.

       Here’s the fuller story:

       Erik Cardin and Leah Olszewski lived together for six months in California in 2017. At
the time, Cardin was a Senior Master Sergeant in the United States Air Force.




             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                          Page 2 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 3 of 23 PageID# 161




       SMSgt (Ret.) Cardin left the relationship. Since then, Ms. Olszewski has made threats
regarding Erik Cardin and has filed multiple reports and claims. See FIGURE on page 3. She
continues her pursuit of SMSgt (Ret.) Cardin with her objective an Air Force court martial.

                    Leah Olszewski’s Threats and False Claims/Complaints
                                      against Erik Cardin




             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                          Page 3 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 4 of 23 PageID# 162




       Thirteen times since October 2017 Ms. Olszewski has filed claims against SMSgt (Ret.)
Cardin. The FIGURE above lists Ms. Olszewski’s multiple claims from 2017 into 2020. In red
italics in the FIGURE is her specific threat against Erik Cardin from November 11, 2017.

       Their relationship was romantic. By mid-October 2017, the relationship had become
very difficult and strained; Erik Cardin left the relationship on October 11, 2017. Since then,
Ms. Olszewski has pursued and tormented Cardin with criminal complaints, public accusations,
and internet postings in which she accuses Erik Cardin of abusing her, assaulting her, and
causing her to miscarry, and stalking her across multiple states. Her accusations are false. But
the accusations have real consequences.

       In every instance where Ms. Olszewski has made accusations that led to civil or criminal
charges against Erik Cardin, the charges have been rejected and/or dismissed. In ruling on Ms.
Olszewski’s Petition a Protective Order, a Florida judge described the events as “a bad breakup.”
He continued, “I don’t have any medical evidence. I don’t have any pictures of any bruises or
injuries.” He denied the Petition.

       Ms. Olszewski did not stop with her claims, including her criminal claims, against Erik
Cardin. She has made multiple public accusations against SMSgt (Ret) Cardin on her website, in
published interviews, and in public forums and hearings, including in testimony to a
Congressional Committee. In her statements, she repeats her accusation that SMSgt (Ret.)
Cardin abused her, assaulted her, and stalked her.

       SMSgt (Ret.) Cardin brings this lawsuit seeking compensatory and punitive damages. He
also seeks injunctive relief to put an end to Mr. Olszewski’s personal campaign aimed at him.
She has abused the courts and the legal system, and likely will continue to do so unless stopped
by the courts.




             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                           Page 4 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 5 of 23 PageID# 163




                                             PARTIES

          1.    Plaintiff ERIK J. CARDIN, formerly a Senior Master Sergeant in the United

States Air Force, is a citizen of the State of Maine. SMSgt (Ret.) Cardin, age 46, retired from the

Air Force in September 2018. While in the Air Force, he served as a C-130 loadmaster.

          2.    SMSgt (Ret.) Cardin, who served in the U.S. Armed Services for over 21 years, is

the recipient of multiple military honors that include the Meritorious Service Medal, the

Distinguished Flying Cross with Valor, and two Bronze Star Medals.

          3.    Defendant LEAH M. OLSZEWSKI is a citizen of the Commonwealth of

Virginia. She is 45 years old. Ms. Olszewski served in the enlisted ranks in the US Army; she

today is a civilian contractor and a Major in the Alabama Army National Guard. Ms. Olszewski

address when this litigation was first filed was 220 20th Street S., Apt. 1209 Arlington, VA

22202. She received her mail through Mailbox # 522 at the Pentagon City UPS Store, 1405 S.

Fern Street in Arlington.

                                  JURISDICTION and VENUE

          4.    Ms. Olszewski resided in Arlington, Virginia, within the Eastern District of

Virginia, and the events underlying the claims occurred in part in this District. This Court has

personal jurisdiction over the parties.

          5.    The parties to the lawsuit are citizens of different states and the amount in

controversy is greater than $75,000. This Court has subject matter jurisdiction over this dispute

pursuant to 28 USC § 1332(a).

          6.    As the Defendant resides in Arlington and some of the events underlying this

Complaint occurred in this District, venue is proper in this Court under 28 USC § 1391(b)(1) and

(b)(2).

               SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                            Page 5 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 6 of 23 PageID# 164




                                     MATERIAL FACTS

       7.     Erik Cardin and Ms. Olszewski lived together in California in a romantic

relationship from April 2017 to October 2017. The relationship began in Florida in 2016: it

relationship ended when SMSgt (Ret.) Cardin moved out on October 11, 2017.

   1. The Barrage of False Statements and Allegations.

       8.     Ms. Olszewski has falsely claimed:

         “SMSgt (Ret.) Cardin had assaulted me 5 times, including strangulation in
         July of that year, …

         On October 11, 2017 SMSgt (RET) Cardin committed the worst assault on me yet.
         Knowing I was pregnant this evening he, among other things, pulled back both of
         his legs and kicked me with the full force of both of his feet in the abdomen, so hard
         I flew off our bed and into closet doors, knocking them off their tracks. He then
         grabbed and pulled my hair, not allowing me to leave, took my phone, and then
         grabbed and pushed me down at the top of stairs as he often did …

       And she has continued,

         He kicked me in the abdomen with both of his feet. He knew I was pregnant. I called
         the police, and he ran from the house. Over the next three days, I miscarried.

These statements are false – they are Ms. Olszewski’s fabrications. Ms. Olszewski’s accusations

were made multiple times, most recently in her September 18, 2019 Congressional Hearings

testimony, which with her permission and encouragement was republished in the October 23,

2019 (updated December 14, 2019) edition of The Huffington Post, and also broadcast on ABC

News and on NP Radio.

       9.   Ms. Olszewski continues her accusations against Erik Cardin:

         SMSgt (Ret.) Cardin continues to threaten me, retaliate, and follow me with no
         consequence while I continue to live in fear and spend time, money and energy to
         stay safe and get away from him.


             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                          Page 6 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 7 of 23 PageID# 165




Again, an untrue statement.

   2. A Relationship “that ended badly”
      from Northwest Florida to Vacaville, California

          10.    Their relationship began in Northwest Florida. Erik Cardin was stationed at

Hurlburt Field, Florida. Ms. Olszewski lived nearby. They met via TINDER, an online dating

service.

          11.    In August 2016, the Air Force transferred SMSgt (Ret.) Cardin to Travis AFB in

Northern California. With at that time nearly 20 years of military service, he was soon to be

eligible to retire from the Air Force. He set his plans to retire in September 2018.

          12.    Consistent with the Air Force orders, SMSgt (Ret.) Cardin relocated to Travis

AFB. Ms. Olszewski followed him to Northern California. Starting in April 2017, they shared a

rented house in Vacaville, California.

          13.    The relationship deteriorated, and the couple argued loudly and frequently.

          October 11, 2017 and Aftermath – Ms. Olszewski’s Threats.

          14.    Following yet another bitter argument with Ms. Olszewski, on October 11, 2017

Erik Cardin left the shared house and left the relationship. He made it clear to Ms. Olszewski

that their relationship was over.

          15.    Ms. Olszewski pleaded with Erik Cardin to return to the relationship, to marry

her, and to provide her with children. She attempted to bring SMSgt (Ret.) Cardin’s Air Force

colleagues and family members into the argument and pleaded with them to intervene on her

behalf.

          16.    In November 2017, Erik Cardin advised Ms. Olszewski via Text message that he

was coming to retrieve his personal belongings from the shared house. She protested. Present


                SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                            Page 7 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 8 of 23 PageID# 166




when he returned to the house were the Vacaville, California police, SMSgt (Ret.) Cardin’s

commander, First Sergeant, and colleagues from the Air Force.

           17.    At that time, Ms. Olszewski made threats of hurting herself – she was escorted by

SMSgt (Ret.) Cardin’s First Sergeant to a mental health facility at Travis AFB, California.

           18.    In an extended Text session on November 11th, Ms. Olszewski threatened Erik

Cardin:

                  Now im going to support the DA so youll end up with midemanor

                  and no guns the rest of ur days.

                  And im going to file with the air force.

                  So osi and jag will know. And youll be
                  reprimanded. This is what u asked for
                  By not being capable of being a man
                  And a decent human being

                  And u can forget unc and Syracuse

    3. Vacaville Police Reports and Complaints Filed with the Air Force.

           19.    On October 11, 2017, Ms. Olszewski made a phone report about Erik Cardin to

the Vacaville, California police. The police subsequently questioned Erik Cardin, released him,

and passed their report to the Solano County District Attorney. The County District Attorney did

not pursue Ms. Olszewski’s claims. Ms. Olszewski was uncooperative with the responding

police officers, and her statements and the evidence were inconsistent with her claims of an

assault.

           20.    Ms. Olszewski returned to the residence in Vacaville. After Erik Cardin in

November retrieved his personal belongings and negotiated and paid the landlord his for share of



                 SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                             Page 8 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 9 of 23 PageID# 167




the rent and utilities for the remainder the house lease, it likely was clear to Ms. Olszewski that

indeed the relationship had ended.

          21.    On November 30, 2017, Ms. Olszewski filed a second Vacaville Police Report

against Erik Cardin regarding the alleged October 11th events, this time changing her story.

          22.    The Vacaville police and the Solano County District Attorney took no action on

the renewed complaint.

          23.    Even though Erik Cardin had moved, had removed his possessions from the

former residence, and studiously avoided any contact with Mr. Olszewski, she continued to send

emails, voicemails, and Text messages, pleading with him to return to the relationship.

          Complaints Filed with Air Force Family Advocacy
          and Air Force Inspector General.

          24.    Ms. Olszewski had threatened SMSgt (Ret.) Cardin that if he did not return to the

relationship she would file charges against him with the Air Force and seek a court martial. He

did not return to the relationship.

          25.    On November 17th, 2017, Ms. Olszewski filed her first complaint with the Air

Force. This was filed with the Air Force Family Advocacy Program.

          26.    The Air Force investigated. Hearings were held on December 19, 2017 and

January 25, 2018 before the Central Registry Board at Travis AFB. The Board concluded that

there was no basis for Ms. Olszewski’s claims of physical and emotional abuse by SMSgt (Ret.)

Cardin.

          27.    But, after reviewing the evidence, the investigators opened an investigation of

Ms. Olszewski’s conduct. They concluded that there was a basis for claims against Ms.

Olswezski for her emotional abuse of SMSgt (Ret.) Erik Cardin. As a result, Ms. Olszewski was


                SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                            Page 9 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 10 of 23 PageID# 168




subsequently placed on a register where she is currently banned from occupying jobs on Air

Force Bases working with or near children.

       28.       The Air Force, however, did reprimand SMSgt (Ret.) Cardin for threats made in

an ugly California confrontation with Ms. Olszewski, a screaming match that she initiated and

recorded.

       29.       Displeased with the hearing results, Ms. Olszewski filed a complaint with the Air

Force Inspector General regarding the Family Advocacy Board hearing and outcome. The

Inspector General determined that the Air Force Family Advocacy personnel properly handled

the investigation and hearing regarding Ms. Olszewski’s complaint against SMSgt (Ret.) Cardin.

       Ms. Olszewski Elevates Complaint to Congress
       and to the Secretary of the Air Force.

       30.       After the second rebuke, Ms. Olszewski was furious. She was more determined

to carry-out her prior threats against Erik Cardin.

       31.       Ms. Olszewski contacted Rep. John Garamendi, the Congressional representative

for the 3rd District in California. She filed yet another complaint. Her complaint was referred

back to the Air Force.

       32.       The Air Force investigated Ms. Olszewski’s Congressional complaint against

SMSgt (Ret.) Cardin. The inquiry concluded that the Air Force has properly conducted its

investigation.

       33.       On March 27, 2018, Ms. Olszewski wrote to the Secretary of the Air Force

alleging that SMSgt (Ret.) Cardin was a known and habitual domestic abuser for over 20 years.

The letter lead to another inquiry. Again, the conclusion was that there was no wrongdoing by

SMSgt (Ret.) Cardin or by the Air Force.


             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                           Page 10 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 11 of 23 PageID# 169




       Ms. Olszewski’s April 2018 Claims to the
       Air Force Office of Special Investigations.

       34.     Still brimming with anger with Erik Cardin for leaving the relationship and

equally angry at the Air Force, Ms. Olszewski alleged in a report filed on April 13, 2018 with the

Air Force Office of Special Investigations (“OSI”) that she was pregnant back in October 2017,

and that SMSgt (Ret.) Cardin assaulted her and caused a miscarriage. Six months had passed

since the alleged incident at their Vacaville residence. This was her first mention of an alleged

pregnancy to the Air Force.

       35.     Ms. Olszewski was not pregnant in October 2017, and Erik Cardin had not

assaulted her. There was no miscarriage.

       36.     Ms. Olszewski’s Office of Special Investigations filing, however, left the Air

Force with no choice but to open an investigation of SMSgt (Ret.) Cardin for assault and “killing

an unborn child.” The seriousness of the allegations led to an immediate suspension of SMSgt

(Ret.) Cardin’s pending retirement from the Air Force.

       37.     Ms. Olszewski’s claims also led to the entry of SMSgt (Ret.) Cardin’s profile and

personal data into the Federal Bureau of Investigation's National Crime Information Center

(NCIC) Database. Ms. Olszewski wanted this action knowing that it would likely cause future

problems for Erik Cardin. It has.

       38.     Four months later, on August 13, 2018, the Air Force Office of Special

Investigations, after a thorough investigation, officially closed its investigation. OSI submitted

its report to the Travis AFB Staff Judge Advocate (SJA). The SJA determined that there was

insufficient evidence to charge SMSgt (Ret.) Cardin with any crime. The matter was closed.




             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                           Page 11 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 12 of 23 PageID# 170




   4. SMSgt Cardin Retires from the Air Force.

       39.     SMSgt (Ret.) Cardin’s planned retirement proceeded. He retired from the Air

Force on September 1, 2018 at his current rank with an Honorable Discharge and full benefits.

   5. Complaints and Claims in Florida, California and Virginia.

       Santa Rosa County, Florida Protective Order:
       The Florida Court Denies Ms. Olszewski’s Petition.

       40.     Ms. Olszewski returned to Northwest Florida in January 2018.

       41.     Ms. Olszewski filed in August 2018 for a Protective Order in Santa Rosa County,

Florida. This was ten months after Erik Cardin left the relationship. Even though Erik Cardin

was not living in Florida, Ms. Olszewski alleged that she was fearful that he might return to

Florida because he owned a house in the area.

       42.     Ms. Olszewski’s basis for her Petition for a Protective Order in Florida was her

police report from October 2017 in Vacaville, CA.

       43.     The Santa Rosa County (Florida) Court conducted on September 12, 2018 an

evidentiary hearing on Ms. Olszewski’s Petition. After the full hearing, the Florida Court found

that there was insufficient evidence supporting Ms. Olszewski’s claims. The Florida Court Case

No. is 18001260DRMXAX.

       44.     The Florida judge described the events as “a bad breakup.” He continued, “I

don’t have any medical evidence. I don’t have any pictures of any bruises or injuries.” The

Petition was denied.




             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                          Page 12 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 13 of 23 PageID# 171




       Ms. Olszewski Files for Protective Order in Solano County, California.

       45.     Furious over the Florida Court’s denial of her Petition for a Protective Order,

Ms. Olszewski filed one week later on September 20, 2018 for a Protective Order in Solano

County, California. This was approximately one month after the OSI Report and after the Air

Force SJA had rejected her claims.

       46.     Her California Petition asserts that she was living and working in Vacaville,

California, and that she feared Erik Cardin would come after her. The home address she used

when filing the California petition was her Florida address.

       47.     A hearing on Ms. Olszewski’s Petition was set for October 12, 2018. In a

Facebook post that day, Ms. Olszewski referred to Erik Cardin as “the evil, likely mentally ill

sociopath.” She sought recommendations for a “killer attorney.”

       48.     Erik Cardin appeared for the hearing represented by counsel. Ms. Olszewski was

without counsel and said she was not prepared to go forward. The Court rescheduled the hearing

for a date four months later.

       49.     In February 2019, when the matter came before a Commissioner in Solano

County, California, it was pushed back to May 17, 2019 for a full trial. But in May 2019, the

matter was continued yet again. The California Court continued the Protective Order hearing

because Ms. Olszewski had signed a sworn affidavit before a Virginia Magistrate in which she

accused Erik Cardin of stalking her.

       SMSgt (Ret.) Cardin Moved to Washington, DC Area;
       Employment with Booz Allen Hamilton.

       50.     SMSgt (Ret.) Cardin’s post-retirement plans were to return to the Washington,

D.C. area where his TOP SECRET clearance earned over his 21-year Air force career would be


             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                          Page 13 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 14 of 23 PageID# 172




helpful in finding appropriate employment. He had previously lived in the Maryland suburbs

and had friends across the DC metropolitan area.

       51.     Erik Cardin also planned to pursue his MBA degree – he was applying to MBA

programs at Syracuse University and at the University of North Carolina. He had earned his

undergraduate degree while in the Air Force. He was accepted into the Executive MBA Program

at Syracuse University and began his graduate studies in July 2018.

       52.     In December 2018, SMSgt (Ret.) Cardin was hired by Booz Allen Hamilton at a

$102,900 annual salary. The employment required his TOP SECRET clearance.

       53.     His employment and registration of the security clearance would have been

recorded in the JPAS (the military’s Joint Personnel Adjudication System) database, a

comprehensive non-public database that includes records of all security clearances and has

record warning flags whenever there is an allegation that might affect an individual’s security

clearance.

       54.     After finding employment that would be at the Pentagon, SMSgt (Ret.) Cardin

rented an apartment near the Huntington METRO Station in Alexandria, Virginia. This was

convenient to public transportation for his commute to the Pentagon.

       55.     Back in 2017, Erik Cardin had shared with Ms. Olszewski his future plans about

moving to the DC area and pursuing the MBA degree.

       56.     Ms. Olszewski learned that SMSgt (Ret.) Cardin was soon to be working in the

Washington, D.C. area and that his employment likely required his security clearance. She also

knew that because of her allegations to the Office of Special Investigations that his profile was in

the NCIC Database.



             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                           Page 14 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 15 of 23 PageID# 173




       Virginia Protective Order and Ms. Olszewski’s Stalking Claims.

       57.     Ms. Olszewski moved from Florida to Virginia.

       58.     Ms. Olszewski claimed that she saw Erik Cardin’s truck drive by on April 30,

2019 when she was in the Eisenhower Avenue area in Alexandria, Virginia.

       59.     Undeterred by the string of rejections by the Air Force, various investigations and

Boards that found against her, and by the Florida Court’s dismissal of her Petition for a

Protective Order, Ms. Olszewski brought new claims to the Alexandria Police Department of

Erik Cardin stalking her. The Alexandria Police determined that her claims did not support

stalking charges.

       60.     Unsuccessful in Alexandria, on May 7, 2019 Ms. Olszewski appeared before a

Virginia magistrate in Fairfax County seeking a Protective Order and again making stalking

claims against SMSgt (Ret) Cardin. She made a sworn statement to the Magistrate.

       61.     On information and belief, Ms. Olszewski included in her statement to the

Virginia magistrate that the temporary California Protective Order from California was still in

place, but she did not explain that the matter lingered because three times it had been continued

at her request. She also made no mention to the Virginia magistrate that the Santa Rosa County,

Florida Court had denied her petition filed in that jurisdiction after a full evidentiary hearing, and

she said nothing about the Air Force investigations, including the in-depth OSI investigation and

Report, and the Air Force SJA action that rejected her claims.

       62.     The Virginia magistrate listened to Ms. Olszewski. Erik Cardin had not even been

advised of the appearance. The Virginia Temporary Protective Order was issued along with a

warrant for his arrest on Ms. Olszewski’s stalking charges.



             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                           Page 15 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 16 of 23 PageID# 174




       63.     Erik Cardin was notified of the warrant. He turned himself in to the Alexandria

police. He was locked-up in the City jail for five days. It was several days before his Virginia

counsel procured his release.

       64.     A General District Court hearing was set in the Alexandria Courts.

       65.     The June 11, 2019 Alexandria Court hearing went as the prior hearings did – this

time the prosecution filed a Nolle Prosequi dismissing the criminal charges.

       66.     But again Ms. Olszewski was not deterred. She continued her pursuit of the

Protective Order as a civil matter.

       67.     The Protective Order came before the Alexandria General District Court on July

10, 2019. After hearing the evidence, the Alexandria Court denied Ms. Olszewski’s Petition and

dismissed the matter.

       68.     She appealed the General District Court decision to the Circuit Court. When the

matter came before the Alexandria Circuit Court on November 1, 2019, Ms. Olszewski’s counsel

appeared to inform that Court that the appeal was being withdrawn at Ms. Olszewski’s request.

       October 31, 2019 Criminal Complaint in Arlington County, Virginia.

       69.     The evening before Mr. Olszewski was to be in Alexandria Circuit Court on her

appeal of the General District Court’s dismissal of her civil claims, she swore out a Criminal

Complaint against SMSgt. (Ret.) Cardin in Arlington seeking his arrest and incarceration.

       70.     Ms. Olszewski alleges in her October 31st Criminal Complaint that “In July &

August 2019, Erik Cardin … filed a complaint with my employer.” This, she claims, is

harassment. Ms. Olszewski continues that “This harassment is a violation of my protective order

…” She used the Criminal Complaint to obtain yet another warrant for Erik Cardin’s arrest.



             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                          Page 16 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 17 of 23 PageID# 175




       71.       The Protective Order Ms. Olszewski refers to is the Solano County, California

order from 2017. Again, she made no mention of the Florida Court’s denial of her Petition after

hearing the evidence, and no mention of the litany of failed claims she had made against SMSgt

(Ret.) Cardin.

       72.       When Ms. Olszewski’s attorney appeared on November 1, 2019 in the Alexandria

Circuit Court on her behalf to dismiss her appeal of the General District Court’s dismissal of her

claims, he made no mention that the evening before Ms. Olszewski had filed in Arlington

County her fifteenth complaint against SMSgt (Ret) Cardin. SMSgt (Ret.) Cardin and his

attorney were present and were prepared to try the appeal.

       73.       SMSgt (Ret.) Cardin learned of Ms. Olszewski’s Arlington criminal complaint

against him when two FBI agents came to his house in Maine.

       74.       In February 2020, upon learning of the October 31, 2019 Criminal Complaint and

Warrant, SMSgt (Ret.) Cardin returned from Maine to Virginia, turned himself in to the

Arlington Police. He was released on his own recognizance to return for trial. Trial on Ms.

Olszewski’s latest claims was set for late March 2020, but then continued to May 2020.

       75.       When Ms. Olszewski’s latest criminal claims came before the Arlington County

Court, the prosecutor entered another Nolle Prosequi, which ended the matter unfavorably for

Ms. Olszewski.

       76.       During this episode, Ms. Olszewski made no mention of her many claims and

complaints filed regarding SMSgt (Ret.) Cardin, no mention of the Florida Court’s dismissal of

her claims after a full hearing, no mention of the Nolle Prosequi dismissing her prior criminal

claims, and no mention of the Alexandria Court’s dismissal of her related civil claims and of her

plans to dismiss her appeal.

             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                           Page 17 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 18 of 23 PageID# 176




       Back to Solano County, California.

       77.     Still outstanding is Ms. Olszewski’s Petition for a Protective Order in Solano

County, California. Three times the trial on this has been continued at Ms. Olszewski’s request.

       78.     The matter was set for trial on January 21, 2020. Shortly before the hearing, the

Court again continued the matter. Trial was set in California for May 19, 2020. This has been

continued because of the nationwide COVID-19 disruptions.

   6. Booz Allen Hamilton Employment and Syracuse MBA.

       79.     Ms. Olszewski’s claims against SMSgt (Ret.) Cardin led to the NCIC Database

profile and to the practical suspension of his security clearance. With the NCIC Database entry

and the uncertainty about his clearance, SMSgt (Ret.) Cardin could not continue with Booz

Allen. Booz Allen terminated his employment.

       80.     After losing the Booz Allen job and unable to find comparable employment in

the DC area, and dealing with the Virginia courts and the continued harassment from Ms.

Olszewski, Erik Cardin moved to Maine in June 2019. He worked in Maine at a substantially

lower salary, but not in a position that required a security clearance. With the current economic

downturn and his NCIC Database profile thwarting any job search, he is now unemployed.

       81.     Since July 2018, Erik Cardin has been enrolled in the Executive MBA program at

Syracuse University. Ms. Olszewski tracked down his admission to Syracuse, and she gave a

false statement to the university that she was a victim of his domestic abuse and assault, and she

filed a formal Title IX complaint against Erik Cardin.

       82.     Syracuse initiated an investigation into the matter. Syracuse University

determined that Ms. Olszewski’s complaints do not meet the criteria for a legitimate Title IX

complaint. The investigation was concluded and the claims dismissed. SMSgt (Ret) Cardin is

             SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                          Page 18 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 19 of 23 PageID# 177




back enrolled in the Syracuse MBA program, and he is on track to complete the MBA studies in

December 2020.

   7. Consequences of the Public False Statements and Allegations.

         83.    As a direct result of Ms. Olszewski’s series of false allegations and her continued

claims made against him to the Air Force, in her filings in California and in Florida, Erik Cardin

has been financially harmed and his reputation severely damaged.

         84.    He was dismissed from this employment with a defense contractor where he was

earning a salary of $102,900. These earning projected forward, then discounted to present value,

and adjusted to reflect other employment, show economic damages of more than $500,000.


                                         LEGAL CLAIMS

                                              Count 1
                      -- Malicious Prosecution: Claims to Air Force OSI --

         85.    Plaintiff Erik J. Cardin repeats and realleges facts as set forth in Paragraphs 1-84

above.

         86.    Ms. Olszewski, by her false statements described above as made to the Air Force

Office of Special Investigations following the denial of her prior allegations and claims and her

continuing insistence and demands that SMSgt (Ret.) Cardin be arrested, charged with a criminal

offense, and indeed, court martialed, maliciously initiated and continued the Air Force criminal

proceedings that were brought against him.

         87.    The claims Ms. Olszewski made to the Air Force OSI were investigated, a

comprehensive Report written, and then the claims were dismissed by the Air Force SJA.




               SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                           Page 19 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 20 of 23 PageID# 178




         88.    Erik Cardin has been damaged by Ms. Olszewski’s malicious prosecution as

described above and as presumed in the law, and for this Erik Cardin claims compensatory

damages, including general damages for harm to reputation that normally result from accusations

as alleged in this Complaint and for distress that normally results from criminal proceedings, of

$200,000.

         89.    Ms. Olszewski’s malicious prosecution was motivated by actual malice towards

Erik Cardin, and her acts confirm willful and wanton disregard for Erik Cardin’s rights. For this,

Erik Cardin seeks $350,000 in punitive damages.


                                              Count 2
                    -- Malicious Prosecution: Criminal Claims in Virginia –

         90.    Plaintiff Erik J. Cardin repeats and realleges facts as set forth in Paragraphs 1-89

above.

         91.    Ms. Olszewski, by her false statements described above and by her insistence and

demands that SMSgt (Ret.) Cardin be arrested, incarcerated, and charged with criminal offenses,

maliciously initiated and continued the criminal proceedings that were brought against him.

         92.    The claims Ms. Olszewski alleged were rejected as shown by the prosecutors in

both Alexandria and in Arlington entering their Nolle Prosequi dismissals of her criminal claims

against SMSgt (Ret.) Cardin.

         93.    Erik Cardin has been damaged by Ms. Olszewski’s malicious prosecutions as

described above and as presumed in the law, and for this Erik Cardin claims compensatory

damages, including general damages for harm to reputation that normally result from accusations




               SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                           Page 20 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 21 of 23 PageID# 179




as alleged in this Complaint and for distress that normally results from criminal proceedings, of

$200,000.

         94.    Erik Cardin also claims as damages his attorneys’ fees for his defense in the

criminal proceedings and in the prosecution of the Malicious Prosecution claim in this civil

action. This recovery of attorneys’ fees is a recognized exception in malicious prosecution

actions under Virginia law to the general rule regarding recovery of attorneys’ fees. See

Prospect Dev. Co. v. Bershader, 258 Va. 75, 92, 515 S.E.2d 291, 300–01 (1999). SMSgt (Ret.)

Cardin’s reasonable attorneys’ fees to date are more than $70,000 and will likely exceed

$160,000.

         95.    Ms. Olszewski’s malicious prosecution was motivated by actual malice towards

Erik Cardin, and her acts confirm willful and wanton disregard for Erik Cardin’s rights. For this,

Erik Cardin seeks $350,000 in punitive damages.


                                              Count 3

                        Tortious Interference with Business Expectancy

         96.    Plaintiff Erik J. Cardin repeats and realleges facts as set forth in Paragraphs 1-95

above.

         97.    Erik Cardin had the reasonable expectancy of a continuing business relationship

with Booz Allen or similar employment at a salary of more than $100,000 per year, and likely

more as he progressed in the business.

         98.    Ms. Olszewski, by her actions as describe above, tortuously interfered with

SMSgt (Ret.) Cardin employment by Booz Allen, and with his prospects for similar employment

appropriate to his decorated Air Force career. Absent her actions and her campaign to destroy


               SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                           Page 21 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 22 of 23 PageID# 180




him, SMSgt (Ret.) Erik Cardin would most likely have continued in the business relationship

with Booz Allen or in comparable employment at similar compensation.

         99.     Plaintiff Erik Cardin is damaged by Ms. Olszewski’s tortious interference with his

employment by Booz Allen in sum to be proven at trial but certainly greater than $500,000.

         100.    Moreover, Ms. Olszewski’s actions confirm willful and wanton disregard for

Erik Cardin’s rights. For this, the Court should award SMSgt (Ret.) Cardin $350,000 in punitive

damages.


                                      REQUESTED RELIEF

         A.      Plaintiff Erik J. Cardin first seeks compensatory and punitive damages as set forth

above.

         B.      Plaintiff Erik J. Cardin requests the Court to issue an injunction barring Ms.

Olszewski for a period of five years from making or publishing any public statements about him,

his past military service, their relationship and its termination, and/or her claims against him.

         C.      Plaintiff Erik J. Cardin requests the Court to issue an injunction barring Ms.

Olszewski from making further claims against him based on the allegations described in this

Second Amended Complaint.

         D.      And, that the Court award him his legal fees and reasonable costs.



                                         JURY DEMAND

         Plaintiff Erik J. Cardin demands that his claims in this Complaint be tried to a jury.




                SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                            Page 22 of 23
Case 1:19-cv-01646-LO-JFA Document 27 Filed 06/29/20 Page 23 of 23 PageID# 181




          WHEREFORE, Plaintiff Erik J. Cardin asks this Court to enter judgment in his favor and

against Defendant Leah M. Olszewski as set forth above, to award compensatory and punitive

damages, and to award statutory costs and all such additional relief as this Court deems just and

proper.

                                                         Respectfully submitted,

                                                         ERIK J. CARDIN
                                                         By Counsel


REDMON, PEYTON & BRASWELL, LLP


By:       __/s/ James S. Kurz_________________
          James S. Kurz (VSB #16610)
          510 King Street, Suite 301
          Alexandria, VA 22314
          Tel: (703) 684-2000/ Fax: (703) 684-5109
          Email: JKurz@RPB-law.com



                                   CERTIFICATE OF SERVICE
          I certify that a true copy of this pleading was filed on this the 29th day of June 2020 via

the Court’s ECF System, which filing is valid service on all counsel record.


                                              __/s/ James S. Kurz_________________
                                              James S. Kurz (VSB #16610)
                                              510 King Street, Suite 301
                                              Alexandria, VA 22314
                                              Tel: (703) 684-2000/ Fax: (703) 684-5109
                                              Email: JKurz@RPB-law.com




               SECOND AMENDED COMPLAINT FOR DAMAGES and INJUNCTIVE RELIEF

                                             Page 23 of 23
